Case 2:21-cv-04920-WLH-ADS     Document 528      Filed 02/24/25   Page 1 of 3 Page ID
                                    #:18098



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     and 9219-1568 Quebec Inc.
13
     [Additional Defendants’ Counsel continued
14   on next page]
15                      UNITED STATES DISTRICT COURT

16                    CENTRAL DISTRICT OF CALIFORNIA

17   SERENA FLEITES,                          Case No. 2:21-cv-04920-WLH-ADS
18                    Plaintiff,              Case Assigned to Hon. Wesley L. Hsu
          v.                                  Courtroom 9B
19
     MINDGEEK S.À R.L, et al.,                NOTICE OF SUPPLEMENTAL
20                                            AUTHORITY
                      Defendants.
21                                            Date:     March 7, 2025
                                              Time:     1:30 p.m.
22                                            Location: 350 W. 1st Street
                                                        Courtroom 9B, 9th Floor
23                                                      Los Angeles, CA 90012
24                                            Complaint Filed: June 17, 2021
                                              Trial Date:      Not Set Yet
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                         NOTICE OF SUPPLEMENTAL AUTHORITY
Case 2:21-cv-04920-WLH-ADS   Document 528   Filed 02/24/25   Page 2 of 3 Page ID
                                  #:18099



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                       NOTICE OF SUPPLEMENTAL AUTHORITY
Case 2:21-cv-04920-WLH-ADS      Document 528      Filed 02/24/25     Page 3 of 3 Page ID
                                     #:18100



 1         Pursuant to paragraph G(5)(a) of the Court’s Standing Order, Defendants
 2   MindGeek, S.à r.l., MG Freesites Ltd, MG Premium Ltd, MindGeek USA
 3   Incorporated, MG Global Entertainment Inc., and 9219-1568 Quebec Inc.
 4   (collectively the “MindGeek Defendants”) respectfully submit this notice of
 5   supplemental authority pertaining to issues raised in Defendants’ Motions to Dismiss
 6   (Dkt. Nos. 440, 448) currently under submission.
 7         The supplemental authority is an Order Granting Defendants’ Motion to
 8   Dismiss Second Amended Complaint in Doe v. WebGroup Czech Republic, a.s. et
 9   al., No. 2:21-cv-02428-SPG-SK, ECF 205 (C.D. Cal. Feb. 21, 2025). A copy of the
10   Order is attached to this notice as Exhibit A.
11
12   Dated: February 24, 2025                Respectfully submitted,
13                                           MINTZ LEVIN COHN FERRIS GLOVSKY
                                             AND POPEO, P.C.
14
                                             /s/ Peter A. Biagetti
15                                           Peter A. Biagetti
                                             Seth R. Goldman
16                                           LisaMarie F. Collins
                                             Arameh Z. O’Boyle
17                                           Esteban Morales
                                             Kerime S. Akoglu
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                                             Attorneys for Defendants
19                                           MindGeek, S.à r.l., MG Freesites Ltd,
                                             MG Premium Ltd, MindGeek USA
20                                           Incorporated, MG Global Entertainment Inc.,
                                             and 9219-1568 Quebec Inc.
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                           NOTICE OF SUPPLEMENTAL AUTHORITY
